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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA



           v.                                  21-cr-237 (RDM)




MATTHEW KLEIN

         SUPPLEMENT TO RESPONSE TO ORDER OF COURT
            REGARDING THIRD-PARTY CUSTODIANSi

     Defendant, by and through undersigned counsel, does hereby

supplement his previously filed Response to Order of Court Concerning

Third-Party Custodians. The following is a list of members of the Oregon

community who are willing to allow defendant to reside in their home and

act as third-party custodians

1 Keira Mitchell, d/o/b 12/312/96 is engaged to defendant’s older brother.

Ms. Mitchell resides in Heppner, Oregon in a single-family home owned by

her grandparents. Mr. Mitchell is employed by the United States

Department of Agriculture and has known defendant for two years and

communicates with him on a regular basis. Ms. Mitchell has an extra

bedroom in her home and her home is wired for a landline so that a

dedicated line can be established for electronic monitoring.

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      Ms. Mitchell is aware of the responsibilities of a third-party custodian.

There are no firearms in her home.

2. Donna Thibodeau. Ms. Thibodeau resides in Baker City, Oregon with her

husband. She has known defendant his entire life. Ms. Thibodeau is now

retired but previously worked for Baker City, Oregon in numerous

capacities and directly for the County Planning Commissioner.

      Ms. Baker is married to Albert Thibodeau who is a retired corrections

officer. Mr. Thibodeau has known defendant for entire life.

      The Thibodeaus reside in a single-family home in Baker City and

have an extra bedroom where defendant can reside. They understand the

responsibilities of a third-party custodian and are prepared to fulfill the

responsibilities.

      Neither of the Thibodeaus have a criminal conviction. Mr. Thibodeau

lawfully owns a firearm but it is a kept in a locked safe. Defendant will not

have any access to the firearm.

3. Rebecca and Adam Bernosky of Corvallis, Oregon are related to

defendant and have known him his entire life. Ms. Bernosky is a part-time

caretaker and Adam Bernosky is an engineer employed with Hewlett-

Packard. The Bernoskys have no criminal convictions and have a separate

room in their single-family home where defendant can reside. They



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understand the responsibilities of being a third-party custodian and are

prepared to fulfill any responsibilities that may be imposed upon them.

      Mr. Bernosky owns a firearm for which he has a duly authorized

permit. The firearm is maintained in a locked box and defendant will not

have any access to the firearm. Mr. Bernosky has been employed at

Hewlett-Packard for the past 28 years and has informed counsel he will

remove the firearm from the home if need be.

      Each of the individuals identified herein will make themselves

available to answer any additional inquiries from the Court, Counsel or

Pretrial Services.



                                   Respectfully submitted,

                                   ______/s/___________________
                                   Steven R. Kiersh#323329
                                   5335 Wisconsin Avenue, N.W.
                                   Suite 440
                                   Washington, D.C. 20015
                                   (202) 347-0200




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        `              CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and accurate copy opf the foregoing.
was served, via the Court’s electronic filing system, upon all counsel of
record on this the 26th day of April 2021.

                                  _______/s/_____________________
                                  Steven R. Kiersh




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 Specific identifying information regarding addresses, and social security
numbers can be provided to the Court, Counsel and Pretrial Services under
seal upon request.




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